         Case 5:16-cv-01354-SLP Document 75 Filed 08/16/18 Page 1 of 1



                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF OKLAHOMA

THE CHEROKEE NATION,                            )
                                                )
      Plaintiff,                                )
                                                )
v.                                              )      Case No. CIV-16-1354-SLP
                                                )
THE DEPARTMENT OF THE INTERIOR,                 )
et al.,                                         )
                                                )
      Defendants.                               )


                                       ORDER

      Before the Court is Plaintiff’s Request for Oral Argument on Defendants’ Motion

to Dismiss [Doc. No. 74]. Plaintiff represents that Defendants’ counsel does not believe

the relief requested is necessary, based on a request for oral argument included in the

briefing on Defendants’ Motion.

      It appears that the issues to be decided by the Court have been thoroughly briefed

by the parties. Therefore, the Motion is DENIED at this time. If, upon further review, the

Court determines that a hearing is necessary, a hearing will be set and the parties will be

notified accordingly.

      IT IS SO ORDERED this 16th day of August, 2018.
